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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------x
UNITED STATES OF AMERICA         :
                                 :                           ORDER
          - v. -                 :
                                 :                           S2 18 Cr. 340 (LGS)
ROBERT JOSEPH FARKAS,            :
                                 :
                    Defendant.   :
                                 :
---------------------------------x

         WHEREAS, with defendant Robert Joseph Farkas’ consent, his guilty plea allocution was

made before a United States Magistrate Judge on June 16, 2020;

         WHEREAS, a transcript of the allocution was made and thereafter was transmitted to the

District Court; and

         WHEREAS, upon review of that transcript, this Court has determined that defendant Farkas

entered the guilty plea knowingly and voluntarily and that there was a sufficient factual basis for the

guilty plea;

         IT IS HEREBY ORDERED that defendant Farkas’ guilty plea is accepted.

SO ORDERED:

Dated:          New York, New York
                      16 2020
                June ___,


                                         ______________________________________
                                         THE HONORABLE LORNA G. SCHOFIELD
                                         UNITED STATES DISTRICT JUDGE
